               Case 11-45231-RAM      Doc 92    Filed 02/14/18   Page 1 of 15



                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

In re:                                                  CASE NO.: 11-45231-BKC-RAM
                                                        Chapter 7
ANGEL LAGE
SSN: XXX-XX-0063
MARLENE LAGE
SSN: XXX-XX-9727

         Debtors.           /

              TRUSTEE’S MOTION TO APPROVE SETTLEMENT AGREEMENT

         Any interested party who fails to file and serve a written response to
         this Motion within 21 days after the date of service stated in this
         Motion shall, pursuant to Local Rule 9013-1(D), be deemed to have
         consented to the entry of an order in the form attached to this
         Motion. Any scheduled hearing may then be canceled.

         Joel L. Tabas, as Chapter 7 Trustee of the Bankruptcy Estate of Angel Lage and

Marlene Lage (the "Trustee"), pursuant to Federal Rule of Bankruptcy Procedure 9019

and Local Rule 9013-1(D), files his Motion to Approve Settlement Agreement (the

"Motion"), and in support thereof, states as follows:

                                      I. Background

         1.     This case commenced with the filing of a voluntary Chapter 7 Petition on

December 28, 2011.

         2.     Joel L. Tabas is the duly appointed Chapter 7 Trustee.

         3.     The Trustee the Trustee took the Debtor’s Rule 2004 Examination (the

“Examination”) [ECF 88], at the Examination the Trustee questioned the Debtor about

his interest in Push Forward Investments, Corp., a business which the Trustee asserts

has always been the Debtor’s business but was merely placed in the name of the

Debtor’s cousin in order to secret the asset from the Trustee (the “Undisclosed
              Case 11-45231-RAM            Doc 92      Filed 02/14/18     Page 2 of 15
                                                                        CASE NO.: 11-45231-BKC-RAM

Business”). The parties agreed that the resolution of the Trustee’s claims are in the best

interests of the Estate. The details of the analysis and agreement are set forth in

Settlement Agreement, attached hereto as Exhibit “A” (the “Stipulation”).

        4.      Pursuant to the terms of the Stipulation, the Debtors have agreed to pay,

and the Trustee has agreed to accept the Settlement Amount, as defined in the

Stipulation, for resolution of the Trustee’s claim.

        5.      The Stipulation contains additional terms and conditions, including, but not

limited to, default provisions.

                               II. Legal Standard for Settlement


        6.      Bankruptcy Rule 9019(a) provides: “On motion . . . and after a hearing on

notice to creditors, the debtor . . . and to such other entities as the court may designate,

the court may approve a compromise or settlement.”1

        7.      As this Court has previously found, “approval of a settlement in a

bankruptcy proceeding is within the sound discretion of the Court, and will not be

disturbed or modified on appeal unless approval or disapproval is an abuse of

discretion.” In re Arrow Air, Inc., 85 B.R. 886, 891 (Bankr. S.D. Fla. 1988) (Cristol, J.)

(citing Rivercity v. Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602-03 (5th Cir.

1980); Anaconda-Ericsson, Inc. v. Hessen (In re Teltronics Servs., Inc.), 762 F.2d 185,

189 (2d Cir. 1985); In re Prudence Co., 98 F.2d 559 (2d Cir. 1938), cert. denied sub

nom. Stein v. McGrath, 306 U.S. 636 (1939)).

        8.      The test is whether the proposed settlement “falls below the ‘lowest point

in the range of reasonableness.’” Arrow Air, 85 Bankr. 891 (quoting Teltronics Servs.,

        1
           Rule 9013-1(D) of the Local Bankruptcy Rules for the Bankruptcy Court for Southern District of
Florida permits, inter alia, relief without a hearing for motions to approve settlement.

                                                   2
             Case 11-45231-RAM        Doc 92      Filed 02/14/18     Page 3 of 15
                                                                   CASE NO.: 11-45231-BKC-RAM

762 F.2d 189; Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d Cir.),

cert. denied, 464 U.S. 822 (1983)).

       9.     According to the United States Eleventh Circuit Court of Appeals, when a

bankruptcy court decides whether to approve or disapprove a proposed settlement, it

must consider:

              (a)    the probability of success in the litigation;

              (b)    the difficulties, if any, to be encountered in the matter of collection;

              (c)    the complexity of the litigation involved, and the expense,
                     inconvenience and delay necessarily attending it; and

              (d)    the paramount interest of the creditors and a proper deference to
                     their reasonable views in the premises.

Wallis v. Justice Oaks II, Ltd. (In re Justice Oaks II. Ltd.), 898 F.2d 1544 (11th Cir.

1990). See Jackson Brewing, 624 F.2d 602, quoted in Arrow Air, 85 B.R. 891.

       10.    The Trustee believes that the proposed settlement meets the standards

set forth in In re Justice Oaks II, and therefore, recommends approval of the settlement

because it is fair and reasonable, falls within the reasonable range of possible litigation

outcomes, and is in the best interest of the Estate because full settlement precludes any

risks associated with litigation and collection in this matter, increases the dividend

available to creditors, and allows for a distribution of sums and proceeds within a

reasonable time.

       11.    Pursuant to Local Rule 9013-1(D), a copy of the proposed Order is

attached hereto as Exhibit "B."

       WHEREFORE, Joel L. Tabas, as Chapter 7 Trustee of the Bankruptcy Estate of

Angel Lage and Marlene Lage, respectfully requests this Honorable Court enter an




                                              3
                Case 11-45231-RAM    Doc 92     Filed 02/14/18     Page 4 of 15
                                                                 CASE NO.: 11-45231-BKC-RAM

Order (1) granting the instant Motion; (2) approving the Stipulation; and (3) granting

such other and further relief as this Court deems just and proper.

                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished

on February 14, 2018, to the parties who are currently on the list to receive e-mail

notice/service for this case, and via U.S. Mail to all interested parties on the attached

service list.

                                         Respectfully submitted,


                                         /s/ Jessika A. Graham
                                         Joel L. Tabas
                                         Fla. Bar No. 516902
                                         Jessika A. Graham
                                         Fla. Bar. No. 72452
                                         Tabas & Soloff, P.A.
                                         Attorneys for Trustee, Joel L. Tabas
                                         Ingraham Building
                                         25 SE Second Ave., Suite 248
                                         Miami, Florida 33131
                                         Telephone: (305) 375-8171
                                         Facsimile: (305) 381-7708
                                         E-mail: jtabas@tabassoloff.com
                                         E-mail: jgraham@tabassoloff.com




                                            4
Case 11-45231-RAM   Doc 92   Filed 02/14/18   Page 5 of 15




                      EXHIBIT
                        "A"
Case 11-45231-RAM   Doc 92   Filed 02/14/18   Page 6 of 15
Case 11-45231-RAM   Doc 92   Filed 02/14/18   Page 7 of 15
Case 11-45231-RAM   Doc 92   Filed 02/14/18   Page 8 of 15
Case 11-45231-RAM   Doc 92   Filed 02/14/18   Page 9 of 15
              Case 11-45231-RAM      Doc 92    Filed 02/14/18   Page 10 of 15




                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

In re:                                                  CASE NO.: 11-45231-BKC-RAM
                                                        Chapter 7
ANGEL LAGE
SSN: XXX-XX-0063
MARLENE LAGE
SSN: XXX-XX-9727

         Debtors.          /

                                [PROPOSED]
                ORDER GRANTING TRUSTEE’S MOTION TO APPROVE
                         SETTLEMENT AGREEMENT

         THIS CAUSE having come before the Court upon Joel L. Tabas, Trustee’s

Motion to Approve Settlement Agreement (the "Motion") [ECF ], and the Court, having

reviewed the Motion and the Certificate of No Response, having noted that no

objections were filed, finding that the settlement subject of the Motion meets the criteria

set forth in In re Justice Oaks II. Ltd., 898 F.2d 1544 (11th Cir. 1990) and thus, is in the



                                       EXHIBIT
                                          "B"
                Case 11-45231-RAM            Doc 92      Filed 02/14/18       Page 11 of 15
                                                                            CASE NO.: 11-45231-BKC-RAM


best interests of this Estate, and finding that the notice of the proposed compromise and

settlement is sufficient to comply with Bankruptcy Rules 9019 and 2002(a)(3), Local

Rule 9013-1(D), and any other applicable notice requirement, it is

        ORDERED as follows:

        1.        The Motion is granted.

        2.        The compromise and settlement is approved on the terms and conditions

set forth in the Motion and the Stipulation attached to the Motion,1 and as follows:

The Debtors agree to pay and the Trustee agrees to accept the sum of $50,000.00
payable as follows:

        (a)       $15,000.00 payable on or before February 15, 2018;

        (b)       Twelve (12) consecutive monthly payments of $800.00 per month with the
                  first payment made on or before March 15, 2018 and subsequent
                  payments made on the 15th of each month thereafter; and

        (c)       a Lump sum payment of $25,400.00 on February 15, 2019.

        3.        The Court incorporates the terms of the Stipulation into this Order and

retains jurisdiction to enforce the terms thereof.

                                                    ###
Submitted by:
Jessika A. Graham
Tabas & Soloff, P.A.
Ingraham Building
25 SE Second Avenue, Suite 248
Miami, Florida 33131
Telephone: (305) 375-8171
Facsimile: (305) 381-7708
Email: jgraham@tabassoloff.com

Copy furnished to:
Jessika A. Graham
Attorney Graham shall serve copies of this Order on all interested parties and file a certificate of service.


        1
            All capitalized terms not defined herein are assigned the same meaning as in the Stipulation.


                                                 Page 2 of 2
                             Case 11-45231-RAM      Doc 92    Filed 02/14/18     Page 12 of 15
11-45231-RAM                             11-45231-RAM                               11-45231-RAM
Recovery Management Systems Corp         Allied Interstate                          Amerassist
25 SE 2 Ave #1120                        P.O. Box 5023                              ATTN: KOVACKS
Miami, FL 33131-1605                     New York, NY 10163-5023                    460 Polaris Parkway, Ste. 20
                                                                                    Westerville, OH 43082-8212


11-45231-RAM                             11-45231-RAM                               11-45231-RAM
American Honda Finance                   Amex                                       Amex
1030 Cambridge Squ                       A ME RI C A N E X P R E S S   SPECIAL      Po Box 297871
Alpharetta, GA 30009-1892                RESEARCH                                   Fort Lauderdale, FL 33329-7871
                                         Po Box 981540
                                         El Paso, TX 79998-1540

11-45231-RAM                             11-45231-RAM                               11-45231-RAM
Assoc of S Miami, Patholo                BANK OF AMERICA                            Bank Of America
c/o First Federal Credit Control         PO BOX 982238                              ATTN: BANKRUPTCY NC4-105-0299
24700 Chagrin Blvd Ste 205               EL PASO TX 79998-2238                      Po Box 26012
Cleveland, OH 44122-5662                                                            Greensboro, NC 27420-6012


11-45231-RAM                             11-45231-RAM                               11-45231-RAM
Bank Of America                          Bank Of America                            Bank Of America
NY7-201-02-07                            P.O. Box 940483                            Po Box 1598
5701Horarion St                          Simi Valley, CA 93094-0483                 Norfolk, VA 23501-1598
Utica, NY 13502-1024


11-45231-RAM                             11-45231-RAM                               11-45231-RAM
Bank Of America                          Bank Of America, N.a.                      Bank Of America, N.a.
Po Box 17054                             150 Allegheny Center Mall                  201 N Tryon St
Wilmington, DE 19850-7054                Pittsburgh, PA 15212-5335                  Charlotte, NC 28202-2146



11-45231-RAM                             11-45231-RAM                               11-45231-RAM
BANK OF AMERICA                          Bank Of America, N.a.                      Bank Of America, N.a.
PO BOX 982238                            450 American St                            ATTN: BANKRUPTCY NC4-105-0299
EL PASO TX 79998-2238                    Simi Valley, CA 93065-6285                 Po Box 26012
                                                                                    Greensboro, NC 27420-6012


11-45231-RAM                             11-45231-RAM                               11-45231-RAM
Bank Of America, N.a.                    BANK OF AMERICA                            Bk Of Amer
PNC                                      PO BOX 982238                              Po Box 1598
Po Box 5570 Br-yb58-01-3                 EL PASO, TX 79998-2238                     Norfolk, VA 23501-1598
Brecksville, OH 44141


11-45231-RAM                             11-45231-RAM                               11-45231-RAM
CBE Group                                Cap One                                    Cap One
1309 Technology Pkwy                     CAPITAL ONE BANK (USA) N.A.                Pob 30281
Cedar Falls, IA 50613-6976               Po Box 30285                               Salt Lake City, UT 84130-0281
                                         Salt Lake City, UT 84130-0285


11-45231-RAM                             11-45231-RAM                               11-45231-RAM
Capital One Bank (USA), N.A.             Catalina Isles Condominium                 Catalina Isles Condo. Assoc, Inc.
PO Box 71083                             Association Inc.                           2180 W Sr 434 Ste 5000
Charlotte, NC 28272-1083                 c/o Karen Wonsetler, PA                    Longwood, FL 32779-5042
                                         860 N Orange Ave.,Ste 135
                                         Orlando, FL 32801-1011

11-45231-RAM                             11-45231-RAM                               11-45231-RAM
Cbna                                     Cbna                                       Central Loan Admin And R
CITICORP CREDIT SERVICES                 Po Box 6497                                425 Phillips Blvd.
ATTN: CENTRALIZE                         Sioux Falls, SD 57117-6497                 Ewing, NJ 08618-1430
Po Box 20363
Kansas City, MO 64195-0363
                             Case 11-45231-RAM      Doc 92      Filed 02/14/18   Page 13 of 15
11-45231-RAM                             11-45231-RAM                               11-45231-RAM
Chase                                    Chase                                      Chase
201 N. Walnut St//de1-1027               2500 Westfield Dr                          ATTN: BANKRUPTCY
Wilmington, DE 19801-2920                Elgin, IL 60124-7700                       Po Box 15145
                                                                                    Wilmington, DE 19850-5145


11-45231-RAM                             11-45231-RAM                               11-45231-RAM
Chase Auto                               Chase Auto                                 Chase Manhattan Mtge
CHASE CARD SERVICES                      Po Box 901076                              3415 Vision Dr
Po Box 15298                             Fort Worth, TX 76101-2076                  Columbus, OH 43219-6009
Wilmington, DE 19850-5298


11-45231-RAM                             11-45231-RAM                               11-45231-RAM
Child Support Enforcemment               CITIBANK                                   CITI BANK
PO Box 8030                              PO BOX 790034                              PO BOX 790139
Tallahassee, FL 32314-8030               ST LOUIS MO 63179-0034                     ST LOUIS MO 63179-0139



11-45231-RAM                             11-45231-RAM                               11-45231-RAM
Citi                                     Citi                                       Citi Ctb
PO Box 6500                              PO Box 6500                                CITIFINANCIAL
Sioux Falls, SD 57117-6500               Sioux Falls, SD 57117-6500                 ATTN: BANKRUPTCY DEPT.
                                                                                    Po Box 140489
                                                                                    Irving, TX 75014-0489

11-45231-RAM                             11-45231-RAM                               11-45231-RAM
Citi Ctb                                 CITIBANK                                   Citi-shell
PO Box 22066                             PO BOX 790034                              PO Box 6497
Tempe, AZ 85285-2066                     ST LOUIS MO 63179-0034                     Sioux Falls, SD 57117-6497



11-45231-RAM                             11-45231-RAM                               11-45231-RAM
INTERNAL REVENUE SERVICE                 DIRECTV LLC                                DPI of Pembroke Pines
CENTRALIZED        INSOLVENCY            ATTN BANKRUPTCIES                          c/o Amerassist
OPERATIONS                               PO BOX 6550                                8415 Pulsar Place
PO BOX 7346                              GREENWOOD VILLAGE CO 80155-6550            Columbus, OH 43240-4033
PHILADELPHIA PA 19101-7346

11-45231-RAM                             11-45231-RAM                               11-45231-RAM
Eldorado Frn                             Eldorado Frn                               Equifax
BANKRUPTCY                               Cscl Dispute Team                          PO Box 740241
4137 121st St                            Des Moines, IA 50306                       Atlanta, GA 30374-0241
Urbandale, IA 50323-2310


11-45231-RAM                             11-45231-RAM                               11-45231-RAM
Experian                                 FIRST FLORIDA CREDIT UNION                 First USA Bank
PO Box 2002                              P O BOX 43310                              CHASE CARD SER V I C ES / ATTN:
Allen, TX 75013-2002                     JACKSONVILLE FL 32203-3310                 BANKRUPTCY DEP
                                                                                    Po Box 15298
                                                                                    Wilmington, DE 19850-5298

11-45231-RAM                             11-45231-RAM                               11-45231-RAM
First USA Bank                           FirstBank Puerto Rico                      Florida Department Of Revenue
Po Box 8650                              701 Waterford Way Ste 810                  PO Box 6668
Wilmington, DE 19899                     Miami, FL 33126-4684                       Tallahassee, FL 32314-6668



11-45231-RAM                             11-45231-RAM                               11-45231-RAM
Francisco Rodriguez                      Gecrb/brandsmart                           Gecrb/brandsmart
5051 SW 163 Avenue                       ATTENTION: BANKRUPTCY                      Po Box 965036
SW Ranches, FL 33331-1433                Po Box 103104                              Orlando, FL 32896-5036
                                         Roswell, GA 30076-9104
                           Case 11-45231-RAM      Doc 92      Filed 02/14/18   Page 14 of 15
11-45231-RAM                           11-45231-RAM                               11-45231-RAM
Gecrb/care Credit                      Gecrb/care Credit                          Gecrb/care Credit
ATTENTION: BANKRUPTCY                  Po Box 965036                              Po Box 981439
Po Box 103104                          Orlando, FL 32896-5036                     El Paso, TX 79998-1439
Roswell, GA 30076-9104


11-45231-RAM                           11-45231-RAM                               11-45231-RAM
Gecrb/City Furniture                   Gecrb/City Furniture                       Gecrb/ge Money Bank Lo
ATTENTION: BANKRUPTCY                  Po Box 981439                              ATTENTION: BANKRUPTCY
Po Box 103104                          El Paso, TX 79998-1439                     DEPARTMENT
Roswell, GA 30076-9104                                                            Po Box 103104
                                                                                  Roswell, GA 30076-9104

11-45231-RAM                           11-45231-RAM                               11-45231-RAM
Gecrb/ge Money Bank Lo                 Gecrb/home Design                          Gecrb/home Dsgn Flooring
PO Box 956005                          PO Box 981439                              PO Box 981439
Orlando, FL 32896-0001                 El Paso, TX 79998-1439                     El Paso, TX 79998-1439



11-45231-RAM                           11-45231-RAM                               11-45231-RAM
Grisel Alonso, Esq.                    HFC - USA                                  I C System Inc
Asst. U.S. Attorney For USA            Po Box 3425                                Po Box 64378
99 NE 4th St., Ste. 300                Buffalo, NY 14240-3425                     St. Paul, MN 55164-0378
Miami, FL 33132-2131


11-45231-RAM                           11-45231-RAM                               11-45231-RAM
Inphynet South Broward, Inc.           INTERNAL REVENUE SERVICE                   Jaguar Credit
Platation Billing Center               CENTRALIZED INSOLVENCY                     P. O. Box 542000
PO Box 189016                          OPERATIONS                                 Omaha, NE 68154-8000
Plantation, FL 33318-9016              PO BOX 7346
                                       PHILADELPHIA PA 19101-7346

11-45231-RAM                           11-45231-RAM                               11-45231-RAM
FORD MOTOR CREDIT COMPANY              Jorge Quintana                             Jose Quintana
P O BOX 62180                          8785 NW 162 Street                         8004 NW 154th Street Ste 243
COLORADO SPRINGS CO 80962-2180         Miami Lakes, FL 33018-6110                 Miami Lakes, FL 33016-5814



11-45231-RAM                           11-45231-RAM                               11-45231-RAM
Jose Ramirez                           Julio Quintana                             Kevin Krippen
5001 SW 168 Avenue                     3120 SW 194 Terrace                        4 Park Street South
SW Ranches, FL 33331-1207              Miramar, FL 33029-5811                     Hackendack, NJ 07606-1623



11-45231-RAM                           11-45231-RAM                               11-45231-RAM
Keybank Ntl                            Law Offices of David J. Stern, P.A.        Lexus Financial Services
4910 Tiedeman Road                     900 S Pine Island Rd Ste 400               12735 Morris Rd
Brooklyn, OH 44144-2338                Plantation, FL 33324-3920                  Alpharetta, GA 30004-8904



11-45231-RAM                           11-45231-RAM                               11-45231-RAM
MARZAK, INC                            Mayors Jewelers Inc                        Mb Fin Svcs
777 PARK OF COMMERCE DR                5870 North Hiatus Road                     P.O. Box 961
BOCA RATON FL 33487-3621               Tamarac, FL 33321-6424                     Roanoke, TX 76262-0961
USPS change


11-45231-RAM                           11-45231-RAM                               11-45231-RAM
Memorial Healthcare System             Morales Law Group, P.A.                    Mortgage Electronic Regist. Syst. Inc.
2900 Corporate Way                     14750 NW 77th Ct., Ste. 303                3300 SW 34th Ave Ste 101
Miramar, FL 33025-3925                 Miami Lakes, FL 33016-1537                 Ocala, FL 34474-4438
                             Case 11-45231-RAM      Doc 92    Filed 02/14/18        Page 15 of 15
11-45231-RAM                             11-45231-RAM                                  11-45231-RAM
Nationwide Recovery Serv.                PYOD, LLC its successors and                  Palm Bay 17, LLC
ATTN: BANKRUPTCY                         as assigns of Citibank Resurgent Capital      8004 Nw 154th St Ste 243
Po Box 8005                              Services                                      Miami Lakes, FL 33016-5814
Cleveland, TN 37320-8005                 PO Box 19008
                                         Greenville, SC 29602-9008

11-45231-RAM                             11-45231-RAM                                  11-45231-RAM
Plaza Associates                         Radiology Assoc. Of Hollywood, P.A.           Sears/cbna
PO Box 2770                              9050 Pines Blvd Ste 200                       Po Box 6189
New York, NY 10116-2770                  Pembroke Pines, FL 33024-6456                 Sioux Falls, SD 57117-6189



11-45231-RAM                             11-45231-RAM                                  11-45231-RAM
Sheldon M.D.                             Sheridan Healthcorp Inc.                      SPRINGLEAF FINANCIAL SERVICES
c/o First Federal Credit C               c/o Nationwide Recovery Serv.                 P O BOX 3251
24700 Chagrin Blvd Ste 2                 PO Box 8005                                   EVANSVILLE IN 47731-3251
Cleveland, OH 44122-5647                 Cleveland, TN 37320-8005


11-45231-RAM                             11-45231-RAM                                  11-45231-RAM
Sunrise Credit Services, Inc.            Suntrust Bank                                 Teresa Quintana
PO Box 9100                              Po Box 85052                                  3120 SW 194 Terrace
Farmingdale, NY 11735-9100               Richmond, VA 23285-5052                       Miramar, FL 33029-5811



11-45231-RAM                             11-45231-RAM                                  11-45231-RAM
Thompson Berges P.A.                     Towncare Dental                               TOYOTA MOTOR CREDIT CORPORATION
1111 Brickell Ave, 11th Fl               C/O I C System Inc                            PO BOX 8026
Miami, FL 33131-3122                     Po Box 64378                                  CEDAR RAPIDS IA 52408-8026
                                         Saint Paul, MN 55164-0378


11-45231-RAM                             11-45231-RAM                                  11-45231-RAM
Transunion                               Vincent And Christina Lombardo                Vincent Lombardo & Christina Lombardo
PO Box 1000                              689 SW 168 Way                                689 SW 168 Way
Chester, PA 19022-1023                   Pembroke Pines, FL 33331                      Pembroke Pines, FL 33027-1041



11-45231-RAM                             11-45231-RAM                                  11-45231-RAM
Wells Fargo Bank NA                      Wells Fargo Bank NV NA                        Wells Fargo Bank NV NA
Po Box 31557                             Des Moines, IA 50306                          Po Box 31557
Billings, MT 59107-1557                                                                Billings, MT 59107-1557



11-45231-RAM                             11-45231-RAM                                  11-45231-RAM
Wf/wb                                    Wf/wb                                         Wffnatbank
PO BOX 31557                             Po Box 3117                                   Po Box 94498
Mac B6955-01b                            Winston Salem, NC 27102-3117                  Las Vegas, NV 89193-4498
Billings, MT 59107-1557


11-45231-RAM                             11-45231-RAM                                  11-45231-RAM
Whispering Palms Condominium Assn        Angel Lage                                    Marlene Lage
13200 WIlcox Road                        10478 NW 131st St                             10478 NW 131st St
Largo, FL 33774                          Hialeah,, FL 33018-1129                       Hialeah,, FL 33018-1129
